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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

ANNETTE HELLER, individually and on behalf
of all others similarly-situated,
                                                      Case No. 4:11-cv-01121
        Plaintiff,

        v.

HRB TAX GROUP, INC.,

        Defendant.

                          PLAINTIFF'S MOTION TO CLOSE CASE

        Pursuant to this Court's order of August 9, 2013 this Court retained jurisdiction over this

matter, for 90 days, or until November 7, 2013. All of the obligations set forth in the Court's

order of August 9, 2013 have been satisfied. Consequently, this matter can be closed and

plaintiff requests that the court do so.

                                                             /s/ Max G. Margulis
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 14th day of December 2012, I submitted the foregoing via this
Court’s CM/ES system, which served notice of the filing on the Attorneys for Defendant,
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                                      /s/ Max G. Margulis


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